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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


 TEMUJIN KENSU,                                                Case No. 18-10175
                                                               Honorable Gershwin A. Drain
        Plaintiff,                                             Magistrate Judge David R. Grand

 v.

 MICHIGAN DEPARTMENT OF
 CORRECTIONS, ET AL.,

        Defendant(s).
                                    /

                     NOTICE OF SETTLEMENT CONFERENCE_VIA ZOOM

        A SETTLEMENT CONFERENCE in the above-entitled case has been set for Tuesday,

 June 8, 2021 at 9:30a.m. before U.S. Magistrate Judge David R. Grand via Zoom.

 CLIENT(S)/CLIENT            REPRESENTATIVE(S)               WITH       FULL      SETTLEMENT

 AUTHORITY MUST ATTEND THE SETTLEMENT CONFERENCE.

        The parties shall submit concise confidential statements summarizing their respective

 position(s) on the case and the history of all settlement negotiations, not to exceed five (5) pages,

 by Friday, June 4, 2021, at 4:30 p.m. Each party’s confidential statement should be hand-

 delivered or faxed directly to Chambers at 734-741-2483, and is not to be filed with the Court or

 placed on the docket. An email will be sent to counsel of record with zoom instructions.



 Dated: March 2, 2021

       I hereby certify that a copy of the foregoing document was served upon counsel of record
 on March 2, 2021, by electronic and/or ordinary mail.

                                s/Eddrey O. Butts
                                Case Manager, (734) 741-2484
